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IN THE UNITED STATES BANKRUPTCY COURT
F()R THE DISTRICT OF DELAWARE

 

 

)
In re: ) Chapter 11
)
NORTH AMERICAN PETROLEUM ) Case No. 10-1170'7 (CSS)
CORPORATION USA, er al. , )
)
Debtors. ) Jointiy Administered
)
)
In ref ) Chapter li
)
PETROFLOW ENERGY L§`D., ) Case No. 10~12608 t J
)
)
Debtor. ) Joint Administration Requested
)

 

J()INT MOTION OF THE FIRST FILEI) BEBTORS AND PETR()FLOW ENERGY
LTD. FOR ENTRY OF AN ORI)ER, PURSUANT TO SECTION IOS{A) {)F THE
BANKRUPTCY C()DE, DIRECTING THAT CERTAIN ORDERS IN THE FIRST
FILED DEBTORS’ CHAPTER 11 CASES BE MADE APPLICABLE
TO PETROFLOW ENERGY LTD.

 

Noxth American Petroieum Corporation USA (“NAPCUS”) and Prize Petroieurn LLC, as
debtors and debtors in possession (coilectively, the “First Fiied Debtors”),] together With
Petroflow Energy Ltd., the First Fiied Debtors’ corporate parent, as debtor and debtor in

possession (“Petrofio\tr,”2 and together With the First Fiied Debtors, the °‘Debtors”), submit this

 

motion (the “Motion”) requesting entry of an order directing that the First Fiied Debtors’ Orders

 

The First Filed Debtors in these chapter 11 cases, along with the last four (4) digits of each Pirst Filed Debtor’s
federa§ tex identification number, are: North American Petrofeum Corporation USA {9'766) end Prize Petroleum
LLC (2460). The location of the First Filed chtors’ corporate headquaiters and the Debtors’ service address
is: §40§ 17th Street, Suite 310, Denver, Co§oredo 80202~124§, Attn: Tucker Franciscus.

The fast four (4) digits of Petroflow’s Canadian eorporation number are: Petrofiow Energy Ltd. (51'7~5).

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(as defined beiow) be made applicable to Petroiiow. in support of this Motion, the Debtors
respectfully state as foilows:

Jurisdiction

i, The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
1334. This matter is a core proceeding Within the meaning of 28 U.S.C. § i§?(b)(Z).

2. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

3. 'i`he statutory bases for the relief requested herein are sections 105(a), 361, 362,
and 363 of title 11 of the United States Code (the “Bankruptcy Code”), Ruies 2002, 4001, 6003,
6004 and 901-4 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and
Rule 1015~1 of the .Locai Rnles of Bani<_ruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Bani<ruptcv Ruies”).

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General Description ofPetroflow

4. Petrofiow is the parent company of the First Filed i)ebtors organized under the
laws of Alberta, Canada and directly owns all of the equity interests in North American
Petroleu)n Corporation USA. Petrot`low’s assets consist almost exciusively of its equity interests
in North Arnerican Petroieum Corporation USA."‘IL As With the First Fiied Debtors, Petroi`low

maintains its headquarters and business records in Denver, Coiorado. Other than providing a

 

A detaiied description of NAPCUS’§ business, capital structure, and the events ieading to the commencement of
these chapter 11 cases is contained in the Declamiion of Tucker Franciscus, Chfafanancfal Ojj‘icer ofNorth
American Petroleum Corporation USA iri Support of Fc‘rst Dczy Morz'ons, fiied on the First Filed Debtors’
Petition Date [Docket No. 8}.

Tiiougli Petrofiow aiso maintains interests in three oii and gas Canadian wells, ail of these weiis have been
“shut in” (1'. e., closed) since at ieast Aprii 2009. Petroiiow does not believe it has any outstanding obligations or
liabilities with respect to these wells

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guarantee of the First Filed Debtor’s prepetition secured bank facility, as discussed belovv,
Petroiiovv does not maintain any funded debt.

Descr§ption of the Debtors ’ Business and Reasons for Chapter 11 Filings

5. The Debtors operate an independent exploration and production company that
predominantly engages in unconventionai Well driliing operations for natural gas extraction in
certain locations in Oi<lahoma (speciticaiiy, the “I~iunton Resource Piay”). Over the past several
years, virtually aii ot` the Debtors’ operations have taken place pursuant to a 2006 farmout
agreement (the “ armour Agreernent”) With Enterra Energy Corp. and certain of its afiiiiates
(coliectiveiy, “Emrgeg;a”). Under the Farrnout Agreernent, the Debtors agreed to provide certain
drilling services to Enterra, in return for a 70% interest in Enterra’s Working interest in the
underground natural gas reserves Generally, once the Debtors drill a vvell and necessary
infrastructure improvements to the premises have been made, Enterra operates the Weils and
revenues are split between the Debtors and Enterra on a 70/30 ratio. The Debtors have “spud”
over 60 Wells in the Hunton Resource Piay under the Farmout Agreernent, many of Which remain
producing Weils today (collectively, the “M”).

6. To support their drilling activities, the First Fiied Debtors entered into that certain
senior secured credit agreement originaliy dated August 25, 2005, with ’i`exas Capitai Bank,
N.A., as administrative agent, and Guaranty Bank, FSB, as co~agent bank, Compass Bank has
since succeeded Guaranty Bank as successor co~agent under the prepetition secured credit
facility, on behalf of the iender parties thereto, to provide the Debtors vvith a $200 million term
and revolving credit facility Approxirnately 3103 million remains outstanding under the
prepetition secured credit facility Petroiiow guarantees the obligations of the First Fiied Debtors

under the prepetition secured credit faciiity.

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7. The Debtors required the construction of certain waste~water disposal and other
infrastructure improvements to complement their drilling activities To that end, under a
reimbursement agreement (the “Cost Recoverv Agreernent”) between Enterra and the Debtors,
Enterra agreed to provide up-front funding for the construction of such infrastructure
improvements for the Wells. Under the Cost Recovery Agreernent, the Debtors were obligated
(a) to reimburse Enterra for 110% of the costs of the up~front funding and (b) to pay a service fee
for Enterra’s use of such infrastructure as operator of Wells. Aithough the Debtors were required
pursuant to the Cost Recovery Agreernent to ultimately fund more than the entire cost of the
infrastructure improvements, all such improvements remained property of Enterra, and the
Debtors had no interest in such improvements Enterra claims that approximately 315 million
remains to be paid by the Debtors under the Cost Reccvery Agreernent.

8. Alieging that the Debtors had not met certain timing deadlines regarding the
drilling of certain of the Wells, Enterra purported to send notice of termination of the Farmout
Agreement to the Debtors on December 14, 2009. (The l)ebtors dispute Enterra’s allegations
and purported termination as well as Enterra’s subsequent attempts to submit the parties’ dispute
to arbitration.) Moreover, in mid~February, 2010, Enterra filed certain state law mechanics and
materialman’s liens against the Debtors’ interests in Enterra’s working interests in the Wells
arising from certain infrastructure and operational expenses allegedly assumed and/or paid by
Enterra under the Cost Recovery Agreement. Enterra also provided notice of these alleged liens
to the Debtors’ customers, largely consisting of major oil and gas distributors who purchase
natural gas produced by the Welis. Enterra likewise directed these customers to Withhold
revenues from the Debtors. In response, the customers began holding back funds~»»»»totally

approximately $2.4 million per month-owed to the Debtors until the parties’ disputes were

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resolved. The customers’ holdbacks shut off all of the Debtors’ revenue, liquidity, and ability to
service their debt. 'i`he Debtors estimate that there currently is approximately $7 million ot`
revenue in suspense.

9. In light of Enterra’s actions and after careful review, the Debtors determined that
the most prudent alternative would be to seek to restructure their operations, potentially through
a sale or other transaction in a chapter ll proceeding To that end, on l\/Iay 11, ?.Ol{), the Debtors
successfully negotiated a second forbearance agreement with their prepetition bank lenders
Lenders (a prior forbearance having been executed on February 16, 201()), providing the Debtors
with incremental funding to bridge their operations through to a sale or other restructuring
transaction i“lowever, on l\/lay 24, ZOl(), the prepetition bank lenders terminated the forbearance
Recognizing the challenges facing them, on l\/Iay 25, 20l0 (the “First Filed Debtors’ Petition
Qp;§”), each of the First Filed Debtors filed a voluntary petition with the Court under chapter ll
of the Bankruptcy Code to provide them the opportunity to restructure their operations and debt
and implement a restructuring transaction in an orderly and value-maximizing manner under the
auspices of a chapter ll proceeding

lO. At`ter the First Filed Debtors’ Petition Date, Petrot`low, in conjunction with the
First Filed Debtors and their advisors, determined that to fully restructure the Debtors’ debt and
strength their obligations going forward operations, Petrot`low should tile for chapter ll.
Accordingly, on the date hereof (the “Petrotlow Petition Date”), Petrotlow filed a voluntary
petition with the Court under chapter li ot` the Bankruptcy. Petrotlow and the First Filed
Debtors are operating their businesses and managing their property as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On l\/Iay 28, 2010, the Court

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entered an order directing the joint administration and procedural consolidation of the First Filed
Debtors’ chapter ll cases [Docket No. 25].

ll. Prornptly after entry of the order approving this l\/lotion, Petrot'iow will seekl
recognition of its chapter li case under Section l8.6 of the Companz`es’ Creciitors Arrangement
Acr in the Alberta Court of Queens Bench of Alberta, located in Calgary, Canada to ensure that
the orders entered in these chapter ll cases are recognized and given effect in all provinces and

territories in Canada.

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lZ. By this l\/lotion, the Debtors request entry ot` an order, substantially in the form
attached hereto as Exhibit A, and pursuant to section lOS(a) ol` the Bankruptcy Code, directing
that all generally applicable orders previously entered, and any generally applicable proposed
orders pending before the Court, in the First Filed Debtors’ chapter ll cases (coilectively, the
“First Filed Debtors’ Orders”), apply to Petrollow in its chapter ll case A list of the First Filed
Debtors’ Orders is annexed to Exhibit A as Exhibit l.

13. Speciiically, the chtors seek to have: (a) those previously entered orders listed
on Exhibit 1 applied to Petroilow effective nunc pro tunc to the Petroflow Petition l)ate; and
(b) any orders entered after the Petrotlow Petition Date on motions that were pending in the First
Filed Debtors’ chapter ll cases on or before the Petroflow Petition Date applied to Petrotlow
effective as of the entry of any such orders

14. The Debtors seek this relief in an effort to eliminate the filing of duplicative
applications and motions and, therefore, reduce the burdens on the Court and parties in interest
Assurning joint administration of Petrot`low’s and the First Filed Debtors’ cases, each of the First
Filed Debtors’ Orders would apply to Petrot`low as it` Petrotlow had commenced its chapter ll
case on the First Piled Debtors’ Petition Date, with the limited exception that such orders be

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effective as of the Petroilow Petiticn Date. The relief set forth in the First Filed Debtors’ Orders
is necessary to facilitate a smooth transition into chapter ll and to preserve the value of
Petroilow’s estates for the benefit of all parties in interest

Basis for Relief

15. Section lQS(a) of the Bankruptcy Code provides, in relevant part that “[t]he court
may issue any order, process, or judgment that is necessary or appropriate to carry out the
provisions of this title” ll U.S.C. § lOS(a). Pursuant to section l()$(a) of the Banl<ruptcy Code,
the Court has expansive equitable powers to fashion any order or decree that is in the interest of
preserving or protecting the value of a debtor’s assets. See, e.g., In re Chinichian, 784 F.Zd
1440, 1443 (9th Cir., l986) (“Section 105 sets out the power of the bankruptcy court to fashion
orders as necessary pursuant to the purposes of the Banl<ruptcy Code.”); Bird v Crown
Convenience (ln re NWFX, Inc), 864 F.Zd 588, 590 (Sth Cir. 1988) (“The overriding
consideration in bankruptcy . . is that equitable principles govern.”); In re Cooper Props.
l'.,iguidating "l`rust, inc., 61 B.R. 531, 537 (Bankr. W D Tenn. l986) (“tbe Bankruptcy Court is
one of equity and as such it has a duty to protect Whatever equities a debtor may have in property
for the benefit of its creditors as long as that protection is implemented in a manner consistent
With the bankruptcy laws.”).

16. Entry of an order directing that the First Filed Debtors’ Orders be made applicable
to Petroflow will obviate the need for duplicative notices, motions, applications, and orders to be
filed in Petrotlovv’s chapter ll case. The Debtors seek to save considerable time and expense for
their estates and reduce the burden on the Court and parties in interest by proceeding in this
manner. Petrotlow requires the protections and authorizations that are set forth in the First Filed
Debtors’ Orders to enter chapter ll in an orderly manner and to restructure successfully
Absent the relief requested herein, i’etroflov»r would have to seek substantially the same

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substantive relief granted by the First Filed Debtors’ Orders. Those orders address many of the
matters that most debtors must deal with in their chapter ll cases. For example, the orders deal
With, among other things, cash management, the payment of taxes, insurance, and utilities, as
Well as employee related issues

17. liad Petrotlow filed its chapter ll petition at the same time as the First Filed
Debtors, it Would have been a rnovant With respect to the Pirst Fiied Debtors’ Orders. By this
Motion, the l)ebtors seek to streamline the process for requesting such relief, Whiie at the same
time providing the same requisite facts and justification for such relief as if Petroflovv had filed
such motions

18. ’l`he Debtors believe that the relief requested herein is appropriate to carry out the
provisions of the Bani<ruptcy Code. Further, similar relief has been authorized in other complex
chapter ll cases under similar circumstances See, e.g., fn re WorldSpace. lnc., Case

No. 08-12412 (PJW) (Bankr. D. Del. June l, 2010) [i)ocket No. 1038]; ln re SernCrude L.P,

 

Case No. 08~11525 (BLS) (Bankr. D. Del. Nov. 6, 2008) [Docket No. 2017]; in re Chi~Chi’s

 

lui, Case No. 03~13()63 (CGC) (Bankr. D. Del. Oct. 24, 2003) {Docket No. ll§]; In re Kaiser
Alurninurn Co;p., Case No. 02~10429 (JKF) (Bani<r. D. Del. l\/lar. 19, 2002) [Docl<et No. 239];
see also In re Chrvsler LLC, Case No. 09»-50002 (AJG) (Bankr. S.D.N.Y. l\/lay 26, 2009) {Docket
No. 2188]; ln re Lehrnan Bros. Holdines inc., Case No. 08»13555 (JMP) (Bankr. S.D.N.Y. Oct.

16, 2008) [Docl<et No, 1093]; ln re WorldCorn Inc., Case No. 02~13533 (ALG) (Bankr.

 

S.D.N.Y. 2902).
19. Based on the foregoing the Debtors submit that the relief requested is necessary
and appropriate, is in the best interests of their estates and creditors, and should be granted in all

f€Sp€CtS.

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The Requiren_i_ents of Bankruptcv Ruie 6003 Are Satisfied

20. Under Bankruptcy Rule 6003, the Court may authorize reiiet` because such reiief
is necessary to avoid immediate and irreparable harm Irnniediate and irreparable harm exists
Where the absence ot` relief vvouid impair a debtor’s ability to reorganize or threaten the debtor’s
future as a going concern §§e In re Arnes Dep’t Stores. Inc., 115 B.R. 34, 36 n.2
(Banl<r. S.D.N.Y. 1990) (discussing the eiernents of “immediate and irreparable harm” in relation
to Banl<ruptcy Rule 4001).

21. As described above, Petrofiow’s operations and obligations are integrated With
those of the First Filed Debtors. Faiiure to extend the relief granted previously to the Pirst Filed
Debtors to Petrotiow Wouid create distraction and additional expense at a time when the i)ebtors°
financial and human resources are iirnited. Accordingiy, the Debtors submit they have satisfied
the requirements of Bankruptcy Rule 6003 to support immediate payment of the Ernployee
Obligations as provided herein

Waiver of Bankrgptcv Rgle 6004(a) and 6004(!1)

22. 'i`o implement the foregoing successfuiiy, to the extent applicabie, the Debtors
seek a Waiver of the notice requirements under Bankruptcy Ruie 6004(a) and the fourteen day
stay of an order authorizing the use, sale, or lease of property under Bani<ruptcy Rule 6004(h).

Notice

23. Notice of this Motion has been given to the following parties or, in lieu thereot, to
their counsei, if known: (a) the Oft`rce of the United States Trustee for the District of Deiaware;
(b) the co~agents under the prepetition secured credit faciiity; (c) Enterra; (d) the First Filed
Debtors’ thirty iargest unsecured creditors; (e) all i<novvn unsecured creditors of Petroflow;
(t) the Internai Revenue Service; (g) the Securities Exchange Cornmission; (h) the Deiaware

Secretary of State; (i) the Delaware Secretary of the Treasury; and (i) all entities that have filed a
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request for service of things in the First Filed Debtors’ chapter il cases pursuant to Bankruptcy
Rule 2002. As this Motion is seeking ‘°iirst day” relief, Within two business days of the hearing
on this Motion, the Debtors vvili serve copies of this i\/.[otion and any order entered respecting this
i\/lotion as required by Locai Bankruptcy Rule 9013»l(ni). The Debtors submit that, in light of
the nature of the relief requested, no other or further notice need be given.
No Prior Reguest

24. No prior request for the relief sought in this Motion has been made to this or any

other court

[Remainder ochige Intenfionally Lefl‘ Blcmk;]

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WHEREFORE, the Debtors respectfully request that the Court enter an order,

substantially in the form attached hereto as Exhibit A, granting the reiief requested herein

and granting such other and further relief as the Court deems appropriate

Dated: August 20, 2010

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/s/ Domerzic E. Pcrcz'rtz`

 

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